                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 TAMMY C. MCCRAE-COLEY,                     )
                                            )
                             Plaintiff,     )
                                            )
         v.                                 )                 1:24-CV-103
                                            )
 THOMAS L. CARDELLA &                       )
 ASSOCIATES, INC., d/b/a TLC                )
 ASSOCIATES and INFOCISION                  )
 MANAGEMENT CORPORATION,                    )
                                            )
                             Defendants.    )

                                          ORDER

        Tammy McCrae-Coley filed this lawsuit against Thomas L. Cardella and

Associates Inc. and InfoCision Management Corporation, alleging the defendants called

her multiple times in violation of the North Carolina Telephone Solicitation Act and the

federal Telephone Consumer Protection Act. The defendants move to dismiss all claims.

Ms. McCrae-Coley has not made any argument supporting two of her claims, and they

will be dismissed as abandoned. The motion to dismiss will otherwise be denied.

   I.         Background

        Ms. McCrae-Coley filed suit in state court against TLC and InfoCision, alleging

that they violated North Carolina law when making telemarketing calls on behalf of

Spectrum Communications. See Doc. 1-1 at 1.1 After motions about jurisdiction were

resolved, see Doc. 26, Ms. McCrae-Coley filed a second amended complaint, adding two


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     The Court has used the pagination appended by the CM/ECF system, not the internal
pagination of the documents.




        Case 1:24-cv-00103-CCE-JLW Document 36 Filed 08/09/24 Page 1 of 9
claims under the federal TCPA, Doc. 29 at pp. 16–17 ¶¶ 68–81, to the three state law

claims asserted in her earlier complaint. Id. at pp. 14–16 ¶¶ 46–67.2 Her claims focus on

telephone calls the defendants allegedly made on behalf of Spectrum in 2019 and 2020.

Id. at p. 5 ¶ 16, p. 22.

         The defendants now move to dismiss all five claims. Doc. 30. They contend that

Ms. McCrae-Coley is collaterally estopped from asserting three of these claims by a

previous arbitration proceeding and that she has failed to state a claim on which relief

may be granted as to the remaining two claims. Doc. 31 at 11–23.

   II.      The Do-Not-Call Registry Claims (Counts One and Five)

         Generally, both federal and state law prohibit making solicitation telephone calls

to numbers on the national do-not-call registry. Krakauer v. Dish Network LLC, 311

F.R.D. 384, 387 (M.D.N.C. 2015) (citing 47 U.S.C. § 277(c); 47 C.F.R. § 64.1200(c)(2));

N.C. GEN. STAT. § 75-102(a). Both laws have a number of exceptions, including for calls

made when there is an “established business relationship” between the telephone

subscriber and the solicitor. Krakauer, 311 F.R.D. at 387–88 (citing 47 U.S.C.

§ 277(a)(4); 47 C.F.R. §§ 64.1200(c)(2), (f)(5)); N.C. GEN. STAT. § 75-103(a)(2).

         Under federal law, this relationship exists for 18 months after the telephone

subscriber makes a purchase from or has a transaction with the solicitor. 47 U.S.C.

§ 277(a)(2); 47 C.F.R. § 64.1200(f)(5). Under North Carolina law, the relationship exists



   2
      Ms. McCrae-Coley also asserts a cause of action for “treble damages,” Doc. 29 at pp. 17–18
¶¶ 82–85, but N.C. GEN. STAT. § 75-16 does not provide a cause of action; it authorizes damages
after the plaintiff establishes a violation of Chapter 75.
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         Case 1:24-cv-00103-CCE-JLW Document 36 Filed 08/09/24 Page 2 of 9
for 18 months after the telephone subscriber makes a purchase from the solicitor or for

three months after the subscriber inquires or applies for a product offered by the seller.

N.C. GEN. STAT. § 75-101(5).

         Spectrum and Ms. McCrae-Coley were involved in a previous arbitration of do-

not-call claims under the TCPA and the similar North Carolina law involving different

telephone calls. In the arbitration decision, the arbitrator stated that Ms. McCrae-Coley

“placed an order for . . . services on July 22, 2019,” and then “cancel[ed] the order before

it was fulfilled and services connected.” Doc. 21-1 at 2 n.1. Spectrum contends that this

is a factual finding that Ms. McCrae-Coley is precluded from contesting here and that this

factual determination means that Spectrum and Ms. McCrae-Coley had an established

business relationship under federal and state law so that the prohibition on calling

numbers on the do-not-call registry during the time at issue does not apply. Doc. 31 at

11–19.

            A. Collateral Estoppel

         Under the doctrine of collateral estoppel, “the determination of an issue in a prior

proceeding precludes the relitigation of that issue in a later action, provided that the party

against whom the estoppel is asserted enjoyed a full and fair opportunity to litigate that

issue in the earlier proceeding.” Whitlock v. Triangle Grading Contractors Dev., Inc.,

205 N.C. App. 444, 448, 696 S.E.2d 543, 546 (2010). Such “[p]reclusive effect is not

limited to court proceedings; it arises in the same manner from arbitration awards.”

Champion Pro Consulting Grp., Inc. v. Impact Sports Football, LLC, 976 F. Supp. 2d

706, 714 (M.D.N.C. 2013) (quoting id. at 448).

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      Case 1:24-cv-00103-CCE-JLW Document 36 Filed 08/09/24 Page 3 of 9
       Under North Carolina law relied upon by Spectrum, the party seeking to collaterally

estop the relitigation of issues must establish the following elements:

          (1) the issues must be the same as those involved in the prior action,
          (2) the issues must have been raised and actually litigated in the prior
          action, (3) the issues must have been material and relevant to the
          disposition of the prior action, and (4) the determination of the issues
          in the prior action must have been necessary and essential to the
          resulting judgment.

Id. (quoting State v. Summers, 351 N.C. 620, 623, 528 S.E.2d 17, 20 (2000)).

          B. The Arbitration Proceeding

       In November 2021, Ms. McCrae-Coley initiated arbitration proceedings against

Charter Communications, Inc. and Spectrum, alleging violations of the TCPA and the

similar North Carolina law. Doc. 21-1 at 2; Doc. 34-1 at 15. During arbitration, Ms.

McCrae-Coley sought damages for 128 unwanted telephone calls she allegedly received

from Spectrum or on its behalf between November 22, 2020, and August 12, 2022. Doc.

21-1 at 2; Doc. 34-1 at 15, 18.3 After an evidentiary hearing, the arbitrator denied Ms.

McCrae-Coley’s claims under the TCPA and North Carolina law for two reasons. Doc.

21-1 at 2–3. First, the arbitrator held that Ms. McCrae-Coley had not introduced credible

and authenticated evidence showing that the unwanted calls between November 22, 2020,

and August 12, 2022, were placed by a caller on behalf of Spectrum. Id. at 2. Second,

the arbitrator held that relief could not be granted on the 23 calls Charter admitted



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      During the arbitration, Ms. McCrae-Coley submitted a call log of 166 unwanted telephone
calls she allegedly received from Spectrum or on its behalf between July 24, 2019, and August
12, 2022, Doc. 21-1 at 2, but she did not seek relief for any calls made before November 22,
2020. Doc. 34-1 at 15.
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       Case 1:24-cv-00103-CCE-JLW Document 36 Filed 08/09/24 Page 4 of 9
making on Spectrum’s behalf because Ms. McCrae-Coley did not seek recovery for any

calls placed before March 25, 2020, the timeframe during which all 23 such calls were

made. Id. at 2–3.

       In a footnote in the arbitration award, the arbitrator stated:

          [Ms. McCrae-Coley] placed an order for . . . services on July 22,
          2019, and again on March 24, 2020, each time cancelling the order
          before it was fulfilled and services connected. [Charter] argued that
          any calls made [on Spectrum’s behalf] in response to [Ms. McCrae-
          Coley’s] own inquiries for services cannot violate the Acts. [Ms.
          McCrae-Coley] asserts she withdrew her request for services on
          March 25, 2020 and advised Charter not to call her anymore, and now
          seeks recovery for all calls from March 25, 2020 forward.

Id. at 2–3 n.1. The arbitrator did not decide whether any calls made in response to Ms.

McCrae-Coley’s inquires for services were lawful. See generally id. at 2–3.

          C. Discussion

       For collateral estoppel to apply under North Carolina law, “the determination of

the issue in the prior action must have been necessary and essential to the resulting

judgment.” Summers, 351 N.C. at 623 (cleaned up). But the arbitrator’s decision did not

rely on the determination that Ms. McCrae-Coley placed an order on July 22, 2019. The

arbitrator held that Ms. McCrae-Coley could not recover for calls that Charter admitted

placing on Spectrum’s behalf for only one reason: because Ms. McCrae-Coley “is not

seeking recovery for calls placed prior to March 25, 2020.” Doc. 21-1 at 2. In the

footnote cited by Spectrum, the arbitrator noted that Spectrum “argued that any calls

made in response to [Ms. McCrae-Coley’s] own inquiries for services cannot violate the

Acts,” but the arbitrator did not rule on that contention; this may show that the issue was


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      Case 1:24-cv-00103-CCE-JLW Document 36 Filed 08/09/24 Page 5 of 9
litigated, but the order itself shows that the statements in the footnote were not necessary

to the judgment. Id. at 2–3 n.1. The arbitrator’s decision did not depend on Ms. McCrae-

Coley’s order of Spectrum services.

       The defendants have not established the necessary elements to collaterally estop

the relitigation of whether Ms. McCrae-Coley placed an order for Spectrum services.4

The defendants’ motion to dismiss counts one, Doc. 29 at p. 14 ¶¶ 46–52, and five, id. at

p. 17 ¶¶ 75–81, will be denied.

   III.    Failure to State a Claim

       “To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007)). While a plaintiff does not have to provide “detailed factual allegations” in

the complaint, see id., the allegations must still allow “the court to draw a reasonable

inference that the defendant is liable for the misconduct alleged.” Int’l Refugee

Assistance Project v. Trump, 961 F.3d 635, 648 (4th Cir. 2020) (quoting id.).

           A. NCTSA Misleading Information Claim (Count Two)

       To state a claim under § 75-102(i) of the NCTSA, the plaintiff must allege that the

plaintiff is a user of a telephone caller identification technology and the defendant caused

misleading information to be transmitted to the plaintiff’s caller identification technology.


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      The Court need not resolve whether “placing an order” is making a purchase so that under
state and federal law the 18-month exception applies, or, under state law, whether it is more like
making an application for a product so that the three-month exception applies. See 47 U.S.C.
§ 277(a)(2); 47 C.F.R. § 64.1200(f)(5); N.C. GEN. STAT. § 75-101(5).
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       Case 1:24-cv-00103-CCE-JLW Document 36 Filed 08/09/24 Page 6 of 9
N.C. GEN. STAT. § 75-102(i). Ms. McCrae-Coley has alleged sufficient facts to make this

“spoofing” claim plausible. She alleged that when she calls the numbers shown, she is

not connected “to anything identifying who actually called” and that when she looks the

numbers up online there is no information about the entities associated with them. Doc.

29 at p. 7 ¶ 25. Whether or not these allegations will be sufficient to get to a jury need

not be decided now, as she does not have to prove her claim in the complaint; but they are

sufficient to make it plausible that the defendants transmitted misleading information –

fake phone numbers – to her caller ID. Id. at p. 15 ¶ 56.

       The defendants contend that Ms. McCrae-Coley has not alleged sufficient facts to

support an inference of a § 75-102(i) violation because her allegation is written in the

present tense about phone numbers later provided by a defendant, not about phone

numbers she saw when she received the calls. Doc. 31 at 20–21. The defendants

maintain that the facts alleged do not allow the inference that the defendants used a

misleading number at the time the violative calls were made more than four years ago.

Id. But pro se complaints, “however inartfully pleaded, must be held to less stringent

standards than formal pleadings drafted by lawyers,” Erickson v. Pardus, 551 U.S. 89, 94

(2007) (cleaned up), and on a motion to dismiss, courts draw all reasonable inferences in

the plaintiff’s favor. See Twombly, 550 U.S. at 555–56; Langford v. Joyner, 62 F.4th 122,

124 (4th Cir. 2023). And the defendants appear to rely on facts outside the current

record. Doc. 31 at 21 (asserting the phone numbers are toll-free numbers). A more

developed factual record will allow the Court to better assess this claim.



                                              7



      Case 1:24-cv-00103-CCE-JLW Document 36 Filed 08/09/24 Page 7 of 9
       Ms. McCrae-Coley has alleged sufficient facts to support an inference that the

defendants violated § 75-102(i) of the NCTSA. The defendants’ motion to dismiss count

two, Doc. 29 at pp. 14–15 ¶¶ 53–61, will be denied.

          B. NCTSA Do-Not-Call Request and TCPA Call-Without-Consent Claims
             (Counts Three and Four)

       In her third cause of action, Ms. McCrae-Coley contends that Spectrum violated

state law prohibiting telephone solicitation calls after a subscriber communicates a do-

not-call request. Id. at pp. 15–16 ¶¶ 62–67 (count three asserting state law claim under

§ 75-102(b)). In her fourth cause of action, she contends that Spectrum violated the

TCPA’s prohibition on solicitation calls made without prior express written consent. Id.

at pp. 16–17 ¶¶ 68–74 (count four asserting federal claim under 47 U.S.C. § 277(b)(3)).

The defendants made specific arguments contending that these claims should be

dismissed. Doc. 31 at 15–16 (arguing collateral estoppel as to count three based on

arbitral finding that do-not-call request was made March 25, 2020), 22–23 (addressing

factual gaps in allegations directed to count four).

       In her brief in opposition to dismissal, Ms. McCrae-Coley did not address these

arguments or attempt to support these claims. See generally Doc. 33. Thus, she has

conceded these issues and abandoned these claims. See, e.g., Kinetic Concepts, Inc. v.

Convatec Inc., No. 8-CV-918, 2010 WL 1667285, at *8 (M.D.N.C. Apr. 23, 2010)

(collecting cases “recogniz[ing] the general principle that a party who fails to address an

issue has conceded the issue” and abandoned those claims); Sasser v. Safe Home Sec.,

Inc., No. 18-CV-746, 2019 WL 3858607, at *5 (M.D.N.C. Aug. 16, 2019) (collecting


                                              8



      Case 1:24-cv-00103-CCE-JLW Document 36 Filed 08/09/24 Page 8 of 9
cases “in both this District, and throughout the Fourth Circuit, agree[ing] that failing to

respond to an argument constitutes an abandonment of a claim”). “A party should not

expect a court to do the work that it elected not to do.” Hughes v. B/E Aerospace, Inc.,

No. 12-CV-717, 2014 WL 906220, at *1 n.1 (M.D.N.C. Mar. 7, 2014).

       It is ORDERED that the defendants’ motion to dismiss the second amended

complaint, Doc. 30, is GRANTED in part and DENIED in part as follows:

       1. The plaintiff’s NCTSA do-not-call request claim (count three), Doc. 29 at pp.

          15–16 ¶¶ 62–67; and TCPA call-without-consent claim (count four), Doc. 29 at

          pp. 16–17 ¶¶ 68–74, are DISMISSED; and

       2. The defendants’ motion to dismiss the second amended complaint is otherwise

          DENIED as to the plaintiff’s NCTSA do-not-call registry claim (count one),

          Doc. 29 at p. 14 ¶¶ 46–52; TCPA do-not-call registry claim (count five), Doc.

          29 at p. 17 ¶¶ 75–81; and NCTSA misleading information claim (count two),

          Doc. 29 at pp. 14–15 ¶¶ 53–61, which may PROCEED.

       3. The defendants SHALL file answer within the time authorized in the Federal

          Rules of Civil Procedure. The case is old and an extension of time is unlikely.

       4. The parties SHALL exchange initial pretrial disclosures required by Federal

          Rule of Civil Procedure 26(a)(1)(A) no later than August 30, 2024.

       5. The matter is referred to the Magistrate Judge for an initial pretrial conference.

This the 9th day of August, 2024.

                                           _______________________________
                                           UNITED STATES DISTRICT JUDGE


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      Case 1:24-cv-00103-CCE-JLW Document 36 Filed 08/09/24 Page 9 of 9
